       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 1 of 12 PageID 1
  Filing # 83406930 E-Filed 01/15/2019 11:42:34 PM


                                                                   IN THE CIRCUIT COURT OF THE
                                                                   TENTH JUDICIAL CIRCUIT, IN AND
                                                                   FOR POLK COUNTY, FLORIDA

          BRENDA ALVAREZ,                                          CASE NO.: 19-CA-
                                                                   FLA BAR NO.: 0739685
                 Plaintiff,

          V.


          LAKELAND AREA MASS
          TRANSIT DISTRICT,

                 Defendant.
                                                      /

                                                    COMPLAINT

                 Plaintiff, BRENDA ALVAREZ, hereby sues Defendant, LAKELAND AREA MASS

          TRANSIT DISTRICT, and alleges:

                                            NATURE OF THE ACTION

                  1.      This is an action brought under Chapter 760, Florida Statutes, 42 U.S.C. §2000e

          et seq., 29 U.S.C. §621 et seq. and Family and Medical Leave Act (FMLA) of 1993, 29 U.S.C.

          §§2612, 2624.

                 2.       This action involves claims which are, individually, in excess of Fifteen Thousand

          Dollars ($15,000.00), exclusive of costs and interest.

                                                      PARTIES

                 3.       At all times pertinent hereto. Plaintiff, BRENDA ALVAREZ, has been a resident

          of the State of Florida and was employed by Defendant. Plaintiff is a member of protected

          classes due to her gender (female), her age (over 40), and because she reported Defendant’s

          unlawful employment activities and was subject to retaliation thereafter.




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 2 of 12 PageID 2



                  4.     At all times pertinent hereto, Defendant, LAKELAND AREA MASS TRANSIT

          DISTRICT, has been organized and existing under the laws of the State of Florida. At all times

          pertinent to this action, Defendant has been an “employer” as that term is used under the

          applicable laws identified above. Defendant was Plaintiffs employer in connection with the

          claims set forth herein.

                                           CONDITIONS PRECEDENT

                  5.     Plaintiff has satisfied all conditions precedent to bringing this action, if any.

                                      STATEMENT OF ULTIMATE FACTS

                 6.      Plaintiff, a sixty-one (61) yeai' old female, began her employment with Defendant

          on May 31, 2016, as a Senior Financial Reporting Analyst and held this position until her

          wrongful constructive termination on October 20, 2017.

                 7.      Although Plaintiff had not received a performance evaluation for weU in excess of

          one year. Plaintiffs sole performance evaluation rated her “satisfactory.”

                 8.      During her employment with Defendant, Plaintiff was subjected to a hostile work

          environment, disparate treatment, different terms and conditions of employment, and was held to

          a different standai’d because of her gender (female), her age (over 40) and because she reported

          Defendant’s unlawful employment practices and was subject to retaliation thereafter.

                 9.      The disparate treatment and retaliation came at the hands of specifically, but not

          limited to David Persaud, Defendant’s CFO; Steven Schaible, Defendant’s Human Resources

          Director; and Tom Phillips, Defendant’s Executive Director.

                 10.     At all times pertinent hereto. Plaintiff was supervised and reported to David

          Persaud (hereinafter “Persaud”), Defendant’s CFO. While under his supervision, Persaud

          demeaned and ridiculed Plaintiff repeatedly and publicly in multiple staff meetings, and in the




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 3 of 12 PageID 3




          presence of Plaintiff s professional colleagues. This demeaning treatment caused Plaintiff

          tremendous embarrassment and emotional distress. Persaud treated Plaintiff in this manner due

          to her gender and her age.

                  11.     Persaud exercised his supervisory authority over Plaintiff to micro-manage,

          intimidate and bully Plaintiff. By way of example, Persaud often glared menacingly and

          excessively at Plaintiff when in proximity to her.

                  12.     In addition, Persaud sent Plaintiff hai'assing email communications, and interfered

          with Plaintiffs work-related discussions with Tom Phillips (hereinafter “Phillips”), Defendant’s

          Executive Director. Persaud did not treat male, or younger female, employees in the manner he

          treated Plaintiff.

                  13.     By way of example, Persaud did not send Debbie Moore, (age 47) the same

          emails to intimidate her, continually check up on her and he did not embaiTass or demean Moore

          during meetings.

                  14.     As another example, Persaud did not send Daisy Mangarris, (age 45) demeaning

          and unpleasant emails. Persaud also granted Mangarris a raise after thirty (30) days, whereas

          Plaintiff did not receive a raise after one (1) entire year. Mangarris was often absent from work

          when she was first hired; however, Persaud had no concerns with her absences. In fact, she was

          compensated for the time off and had not met her probationary period. Conversely, when

          Plaintiff was absent for a period of one (1) day after working six months of perfect attendance,

          Persaud sent her a disrespectful email.

                  15.     Elizabeth Roch, (age 37) was found knitting while sitting at her desk. However,

          Persaud failed to reprimand Roch. Roch has since been relocated to another office, but Persaud

          was aware that in her reassigned role, she continued to fail to perform her job duties.




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 4 of 12 PageID 4



                  16.    Mai-ci HaiTison, (age 40-50) often came to the office and left as she pleased with

          little supervision or questions asked regarding her whereabouts. On several occasions, Plaintiff

          asked where Hanison was located and no one knew of her whereabouts.

                  17.    Persaud also does not treat male employees in the same manner. By way of

          example, Rodney Wetzel, a male employee (age 50) was often out of the office for extended

          periods of time without Persaud questioning his whereabouts. When Plaintiff asked for Wetzel’s

          assistance, Persaud would refuse to allow Wetzel to assist Plaintiff Moreover, Wetzel’s office

          was often dark and he was not present when needed.

                  18.    On one occasion when Plaintiff asked Wetzel about a leave form when he took

          time off to care for his wife, Wetzel told Plaintiff that as a salaried employee, he did not have to

          complete a leave form; however, as a salaried employee, Plaintiff was required to complete a

          leave form for her absences.

                  19.    Other male employees, including but not limited to Carmello LNU and another IT

          employee (ages 22-25), were behind schedule on their work tasks. However, Persaud never

          humiliated or bullied them in a staff meeting for failing to meet deadlines. John Satchell, another

          male employee (age 50), also enjoyed the privileges of never having faced humiliation at the

          hands of Persaud.

                 20.     In July 2017, Plaintiff met with Phillips in his office and made a formal

          complaint. Plaintiff s complaint addressed the hostile work environment Plaintiff experienced

          due to Pursaud’s gender-based and age-based animus, Persaud’s inappropriate, improper, and

          illegal actions and work-place conduct.

                 21.     The day after Plaintiff made the complaint to Phillips, Defendant’s Human

          Resources Director, Steven Schaible (“hereinafter “Schaible”) called Plaintiff to a meeting in his




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
      Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 5 of 12 PageID 5



          office to discuss the specific concerns Plaintiff expressed to Phillips the previous day. During

          this meeting, Schaible questioned Plaintiff regarding the specifics of the complaint Plaintiff

          made to Phillips regarding Persaud’s improper and illegal actions and conduct.

                 22.     As a direct result, of Plaintiffs complaint to Phillips and Schiable, Persaud’s

          hostile, improper and illegal conduct towards Plaintiff continued and intensified causing Plaintiff

          to suffer severe anxiety and emotional distress. Plaintiff believes Persaud’s amplified post-

          Complaint hostile conduct towai'ds her was in retaliation for Plaintiffs complaint and was

          intended to bring about Plaintiffs resignation.

                 23.     When Persaud failed to secure Plaintiffs resignation through his hostilities,

          Persaud simply excluded Plaintiff from staff and grant meetings, thereby interfering with

          Plaintiff s ability to competently and successfully perform the essential duties and functions of

          her employment.

                 24.     Persaud further retaliated against Plaintiff for her complaint, by assigning another

          employee to interrogate Plaintiff with respect to grant related billing and invoices over an

          extended fifteen (15) month period, an exercise designed to harass and intimidate Plaintiff As

          previously stated, Persaud did not treat male, or younger female, employees in this manner.

                 25.     In addition, Schaible, failed to conduct a proper investigation into Plaintiffs

          complaint, including allegations of Defendant’s hostile work envhonment, gender-based

          disparate treatment, age-based disparate treatment, and grant accounting irregularities.

          Furthermore, the investigation of Plaintiff s complaint by Marci Harrison, Defendant’s Internal

          EEOC Investigator, was not conducted properly after Harrison was appointed by Schaible to

          complete the investigation of Plaintiff s complaint. Harrison lacked independence as she was

          supervised and reported to Schaible at all times.




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 6 of 12 PageID 6



                  26.     After Schaible and Harrison’s failed investigation, Schaiable directed negative

          performance write-up of Plaintiffs job performance. Prior to this time, Plaintiff had no negative

          or derogatory personnel actions in her employment file.

                  27.     Plaintiff suffered additional retaliation for her complaint when she was denied a

          promised pay increase. Prior to making her complaint, Plaintiff was promised a pay increase by

          Phillips, however in retaliation for making the complaint. Plaintiff never received the promised

          pay increase.

                  28.     Plaintiff s health suffered as the direct result of the hostile work environment,

          discriminatory conduct, and retaliatory actions taken by Persaud, Schaible and Phillips. In

          further retaliation against Plaintiff for filing the complaint, Persaud required Plaintiff to submit

          leave requests for physician and other health care related appointments. As previously stated.

          Plaintiff was the only salaried employee required to submit leave requests for these type

          appointments.

                  29.     On or about September 18, 2018, Plaintiff submitted documentation for the

          second time notifying Schaible that Plaintiff filed for FMLA benefits. Plaintiff previously

          requested FMLA and provided notice and documentation to Schaible, however, upon

          information and belief, Schaible denied receiving Plaintiffs first set of FMLA documentation.

                  30.     On or about October 13, 2017, Plaintiff received a response from Schaible

          regarding her request for FMLA. In his response, Schaible threatened to terminate Plaintiff if

          she failed to provide additional documentation regarding her FMLA request by October 20,

          2017.

                  31.     Plaintiff could no longer endure the hostile work environment, the stress and the

          discriminatory treatment and had no other alternative but to quit. Essentially, Schaible retaliated




2019CA-000173-0000-00            Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 7 of 12 PageID 7



          against Plaintiff for her Complaint and discriminated against her based on her gender and age,

          and by constructively terminating her employment on October 20, 2017.

                  32.     After Defendant constructively terminated Plaintiff, Defendant hired Sholpan

          Grover, a much younger, 41 to 42 year old female as her replacement.

                  33.     Plaintiff has retained the undersigned to represent her interests in this cause and is

          obligated to pay a fee for these services. Defendant should be made to pay said fee under the

          laws referenced above.

                                                  COUNT I
                                        GENDER-BASED DISCRIMINATION

                  34.     Paragraphs 1 through 33 above are re-alleged and incorporated herein by

          reference.

                  35.     This count sets forth a claim for gender-discrimination brought under Chapter

          760, Florida Statutes and 42 U.S.C. §2000e et seq..

                  36.     Plaintiff has been the victim of discrimination on the basis of her gender in that

          Plaintiff was treated differently than similarly situated male employees of Defendant on the

          basis, at least in part, of her gender.

                  37.     Defendant is liable for the differential treatment of and hostility towai'd Plaintiff

          because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

          or it knew or should have known of these actions and inactions and failed to take prompt and

          adequate remedial action or took no action at all to prevent the abuses to Plaintiff.

                  38.     Furthermore, Defendant knowingly condoned and/or ratified the differential

          treatment of Plaintiff as more fully set forth above because it allowed the differential treatment

          and participated in same.




2019CA-000173-0000-00            Received in Polk 01/15/2019 11:44 PM
       Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 8 of 12 PageID 8



                  39.     Defendant’s known allowance and/or ratification of these actions and inactions

          actions created, perpetuated and facilitated an abusive and offensive work environment within

          the meaning of the statute or statutes referenced above.

                  40.     In essence, the actions of agents of Defendant, which were each condoned and/or

          ratified by Defendant, were of a gender-based nature and in violation of the laws set forth herein.

                  41.     The discrimination complained of herein affected terms, conditions, and

          privileges of Plaintiffs continued employment by Defendant. The events set forth herein led, at

          least in part, to Plaintiff s termination/constructive termination.

                  42.     Defendant’s acts and omissions constituted intentional discrimination and

          unlawful employment practices based upon gender in violation of Chapter 760, Florida Statutes.

                  43.     As a direct and proximate result of Defendant’s conduct described above, Plaintiff

          has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

          inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

          with lost back and front pay, interest on pay, bonuses, and other benefits. These damages have

          occurred in the past, are occuning at present, and will likely continue into the future. Plaintiff is

          also entitled to equitable/injunctive relief under this count.

                                                        COUNT II
                                          AGE-BASED DISCRIMINATION
                  44.     Paragraphs 1 through 33 ai'e re-alleged and incorporated herein by reference.

                  45.     This is an action against Defendant for discrimination based upon age brought

          under Chapter 760, Florida Statutes and 29 U.S.C. §621 et seq..

                 46.      Plaintiff has been the victim of discrimination on the basis of her age in that she

          was treated differently than similarly situated younger employees of Defendant and has been

          subject to hostility and poor treatment on the basis, at least in part, of her age.


                                                             8




2019CA-000173-0000-00            Received in Polk 01/15/2019 11:44 PM
      Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 9 of 12 PageID 9



                 47.     Defendant is liable for the differential treatment of and hostility toward Plaintiff

          because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

          or it knew or should have known of these actions and inactions and failed to take prompt and

          adequate remedial action or took no action at all to prevent the abuses to Plaintiff.

                 48.     Furthermore, Defendant knowingly condoned and ratified the differential

          treatment of Plaintiff as more fully set forth above because it allowed the differential treatment

          and participated in the same.

                 49.     Defendant’s known allowance and ratification of these actions and inactions

          created, perpetuated and facilitated an abusive and offensive work envkonment within the

          meaning of the statutes referenced above.

                 50.     In essence, the actions of agents of Defendant, which were each condoned and

          ratified by Defendant, were of an age-based nature and in violation of the laws set forth herein.

                 33.     The discrimination complained of herein affected terms, conditions, and

          privileges of Plaintiff s continued employment with Defendant, and led to her

          termination/constructive discharge.

                 34.      Defendant's conduct and omissions constitutes intentional discrimination and

          unlawful employment practices based upon age in violation of Chapter 760, Florida Statutes.

                 35.     As a dii-ect and proximate result of Defendant's conduct described above. Plaintiff

          has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

          inconvenience, bodily injury, mental anguish, loss of enjoyment of life and other non-pecuniary

          losses, along with lost back and front pay, interest on pay, bonuses, and other benefits. These

          damages have occurred in the past, are permanent and continuing. Plaintiff is entitled to

          injunctive relief under Chapter 760, Florida Statutes.




2019CA-000173-0000-00           Received in Polk 01/15/2019 11:44 PM
     Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 10 of 12 PageID 10



                                                      COUNT III
                                                    RETALIATION

                  51.     Paragraphs 1 through 33 above are re-alleged and incorporated herein by

          reference.

                  52.     Defendant is an employer as that terni is used under the applicable statutes

          referenced above.

                  53.     The foregoing allegations establish a cause of action for unlawful retaliation after

          Plaintiff reported or opposed unlawful employment practices adversely affecting Plaintiff under

          Chapter 760, Florida Statutes, and other statutory provisions cited herein.

                  54.     The foregoing unlawful actions by Defendant were purposeful.

                  55.     Plaintiff voiced opposition to unlawful employment practices during her

          employment by Defendant and was the victim of retaliation thereafter, as related in part above,

          and then she was reprimanded and terminated.

                  56.     Plaintiff is a member of a protected class because she reported unlawful

          employment practices and was the victim of retaliation thereafter. There is a causal connection

          between her reporting of the unlawful employment practices and the adverse employment actions

          taken against her thereafter.

                  57.     Asa direct and proximate result of the foregoing unlawful acts and omissions.

          Plaintiff has suffered mental anguish, emotional distress, expense, loss of benefits,

          embarrassment, humiliation, damage to reputation, illness, lost wages, loss of capacity for the

          enjoyment of life, and other tangible and intangible damages. These damages have occurred in

          the past, are occurring at present, and will likely continue into the future. Plaintiff is also entitled

          to equitable/injunctive relief and to punitive damages under this count.




                                                             10




2019CA-000173-0000-00            Received in Polk 01/15/2019 11:44 PM
      Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 11 of 12 PageID 11



                                            COUNT IV
                         VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT

                  58.     Paragraphs 1-33 are re-alleged and are incorporated herein by reference.

                  59.     This is an action against Defendant for harassing Plaintiff due to using leave time,

          and for terminating Plaintiff for taking time off that was authorized by and protected under the

          FMLA. This is thus both an interference and retaliation claim.

                  60.     After requesting and trying to ttike leave for serious health conditions, Defendant

          harassed Plaintiff and took adverse personnel actions against her.

                  61.     Plaintiff was denied rights and benefits conferred by the FMLA and was

          constructively terminated after requesting but being denied protected leave.

                  62.     Defendant’s violations of the FMLA were willful.

                  63.     As a direct and proximate result of Defendant’s willful, wanton, and malicious

          acts described in part above. Plaintiff has sustained damages for the loss of employment, as well

          as the security and peace of mind it provided. Plaintiff has incurred damages for lost wages, and

          other damages attendant with the loss of her job. These damages have oceurred in the past, are

          occurring at present and will continue in the future. Plaintiff is entitled to injunctive relief.

                                                PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff demands judgment against Defendant for the following:

                          (a)     that process issue and this court take jurisdiction over this case;

                          (b)     that this eourt enter judgment against Defendant and for Plaintiff awarding

                                 equitable relief against Defendant under the applicable counts set forth

                                  above, mandating Defendant’s obedience to the laws enumerated herein

                                  and providing other equitable relief to Plaintiff;




                                                             11




2019CA-000173-0000-00            Received in Polk 01/15/2019 11:44 PM
      Case 8:19-cv-01044-VMC-SPF Document 1 Filed 04/30/19 Page 12 of 12 PageID 12




                       (c)     that this court enter judgment against Defendant and for Plaintiff awarding

                               all legally-available general and compensatory damages, including

                               damages for economic loss, to Plaintiff from Defendant for Defendant’s

                               violations of law enumerated herein;

                       (d)     that this court enter judgment against Defendant and for Plaintiff

                               permanently enjoining Defendant from future violations of law

                               enumerated herein;

                       (e)     that this court enter judgment against Defendant and for Plaintiff awarding

                               Plaintiff costs and attorney's fees as allowed by law;

                       (f)     that this court enter judgment against Defendant and for Plaintiff awarding

                               Plaintiff interest where appropriate; and

                       (g)     that this court grant such other and further relief as is just and proper under

                               the circumstances.

                                       DEMAND FOR TRIAL BY JURY

               Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

               DATED this 15* day of January, 2019.

                                                                      Respectfully submitted:

                                                                      /s/ Maiie A. Mattox
                                                                      Marie A. Mattox [FBN 0739685]
                                                                      MARIE A. MATTOX, P. A.
                                                                      310 East Bradford Road
                                                                      Tallahassee, FL 32303
                                                                      Telephone: (850) 383-4800
                                                                      Facsimile: (850) 383-4801
                                                                      Email: marie@mattoxlaw.com
                                                                      Secondary emails:
                                                                      nucheiie2@n'ialtoxlaw.eQm
                                                                      maiiene @ matloxlaw .com
                                                                      ATfORNEYS FOR PLAINTIFF


                                                         12




2019CA-000173-0000-00        Received in Polk 01/15/2019 11:44 PM
